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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  DANNY BARTON, TRUSTEE, and
  INDIANA   TEAMSTERS  HEALTH
  BENEFITS FUND,

                       Plaintiffs,

  v.                                          Case No. 1:18-cv-03842-RLY-DLP

  SHOSHONE TRUCKING, LLC.,

                       Defendant.


                         JOINT NOTICE OF SETTLEMENT

          Plaintiffs, Danny Barton and the Indiana Teamsters Health Benefits Fund and

 Defendant, Shoshone Trucking, LLC (“Shoshone”) have reached a settlement in

 principle in this case. In order to conserve the resources of the parties and this Court,

 the parties request that the Court forego ruling on Shoshone’s pending Motion to

 Dismiss Under Fed. R. Civ. P. 12(b)(1) or in the Alternative Motion to Transfer

 Pursuant to 28 U.S.C. § 1412 (ECF No. 16) until the status conference scheduled for

 October 30, 2019 or upon finalization of the settlement agreement, whichever occurs

 first.
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          Respectfully submitted,

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  Indiana Teamsters Health
  Benefits Fund                                 Attorneys for Defendant
                                                Shoshone Trucking, LLC


                             CERTIFICATE OF SERVICE

        I hereby certify that on August 8, 2019, a copy of the foregoing was filed
 electronically. Service of this filing will be made on all ECF-registered counsel by
 operation of the court's electronic filing system. Parties may access this filing through
 the court's system.


                                          /s/ James T. Spolyar
                                          James T. Spolyar


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